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            8                        UNITED STATES DISTRICT COURT
            9           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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                 NETLIST INC., a Delaware               CASE NO. 8:20-cv-00993-MCS-ADS
          11     corporation,
                                                        [PROPOSED] ORDER GRANTING
          12                     Plaintiff,             NETLIST INC.’S MOTION TO
                                                        COMPEL DEPOSITIONS OF JUNG
          13          vs.                               BAE LEE AND JOO SUN CHOI
          14     SAMSUNG ELECTRONICS CO.,               Action Filed: May 28, 2020
                 LTD., a Korean corporation,            Trial Date: November 30, 2021
          15
                                 Defendant.             Hon. Autumn D. Spaeth, U.S. Magistrate
          16
                                                        Judge
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          19         [Discovery Document: Referred to Magistrate Judge Autumn D. Spaeth]
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Gibson, Dunn &
Crutcher LLP                 [PROPOSED] ORDER GRANTING NETLIST INC.’S MOTION TO COMPEL
                                    DEPOSITIONS OF JUNG BAE LEE AND JOO SUN CHOI
         Case 8:20-cv-00993-MCS-ADS Document 84-19 Filed 07/20/21 Page 2 of 2 Page ID #:916


            1          The Court, having considered the materials and arguments submitted by Plaintiff
            2    Netlist Inc. in its Motion to Compel Depositions of Jung Bae Lee and Joo Sun Choi,
            3    and the declarations of Raymond A. LaMagna and Paik Ki Hong submitted in support
            4    thereof, and having found good cause, hereby GRANTS the motion.
            5          Samsung shall produce Jung Bae Lee and Joo Sun Choi for deposition in this
            6    matter before August 16, 2021.
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            8          IT IS SO ORDERED.
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          10     Dated: _______________, 2021
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                                                                The Hon. Autumn D. Spaeth
          12                                                   United States Magistrate Judge
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Gibson, Dunn &
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Crutcher LLP                   [PROPOSED] ORDER GRANTING NETLIST INC.’S MOTION TO COMPEL
                                      DEPOSITIONS OF JUNG BAE LEE AND JOO SUN CHOI
